                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

             Plaintiff,

      v.                                                        Case No. 16-CV-1208

SCION DENTAL, INC.,

             Defendant.


                          CONSENT DECREE AND ORDER


      On September 7, 2016 the Equal Employment Opportunity Commission

(“EEOC”) filed this action against defendant Scion Dental, Inc. (“Scion”), alleging

that Scion violated Title VII of the Civil Rights Act of 1964, 42 U.S. C. § 2000e et

seq., by denying employment to an African-American woman, Nartisha Leija, on the

basis of her race and ending her employment at Scion on the basis of her race. The

Complaint sought injunctive relief, back pay, front pay, compensatory, and punitive

damages for Ms. Leija. Scion filed an Answer denying the allegations asserted by

the EEOC and asserted that its actions with respect to Ms. Leija were legitimate

and non-discriminatory.

      Scion states that it is entering into this Decree to avoid further litigation.

The EEOC and Scion have agreed to this Consent Decree to fully and finally resolve

all claims the EEOC raised in its Complaint in Civil Action No. 2:16-cv-1208 (E.D.

Wis.) This Consent Decree shall be final and binding on the EEOC and on Scion,



        Case 2:16-cv-01208-DEJ Filed 07/13/18 Page 1 of 9 Document 133
Scion’s directors, officers, agents, employees, successors, and assigns, and on all

persons in active concert or participation with Scion.

      This Decree constitutes the complete and exclusive agreement between the

EEOC and Scion with respect to the matters referenced herein.

      Having carefully examined the terms and provisions of this Consent Decree,

and based on the pleadings, record, and stipulation of the parties, IT IS HEREBY

ORDERED, ADJUDGED, AND DECREED THAT:

      A. This Court has jurisdiction over the subject matter of this action and over

          the parties for the purposes of entering and enforcing this Consent Decree.

      B. The terms of this Consent Decree are adequate, fair, reasonable,

          equitable, and just.

      C. This Consent Decree conforms with the Federal Rules of Civil Procedure

          and is not in derogation of the rights or privileges of any person. The entry

          of this Consent Decree will further the objectives of Title VII and will be

          in the best interests of Nartisha Leija, for whom EEOC seeks relief, and

          the public.

      D. This Consent Decree shall fully and finally resolve and adjudicate on the

          merits with prejudice all claims and facts which were raised by EEOC on

          behalf of Nartisha Leija in its Complaint in Civil Action No. 2:16-cv-1208

          (E.D. Wis.) arising out of the discrimination charges filed by Ms. Leija

          against Scion, EEOC Charge No. 443-2015-00801 and EEOC Charge No.




                                           2

        Case 2:16-cv-01208-DEJ Filed 07/13/18 Page 2 of 9 Document 133
          443-2015-00867. The parties agree that this Consent Decree does not

          resolve any other charges or claims.

      E. Neither party admits the allegations or defenses of the other party. Any

          obligations or requirements of Scion contained in this Consent Decree

          shall apply only to Scion, and not to any affiliate company of Scion.

                               RELIEF PROVISIONS

1.    Compliance with Title VII.

      This Consent Decree enjoins Scion from engaging in any practice that

discriminates on the basis of race in hiring in violation of Title VII. Nothing in this

Consent Decree shall be construed to limit Scion’s obligations under Title VII or

EEOC’s authority to process or litigate any charge of discrimination which may be

filed against Scion in the future, or Scion’s ability to defend against any such claim.

2.    No Retaliation.

      Scion shall not engage in, implement, or permit any action, policy, or practice

with the purpose of retaliating against any current or former applicant or employee

because she or he opposed any action or practice which is unlawful under Title VII.

Scion shall not retaliate against individuals who filed a charge of discrimination

alleging any such action or practice; testified or participated in any manner in any

investigation (including, but not limited to, any internal investigation undertaken

by Scion), proceeding, or hearing relating to any claim of employment

discrimination in this case or otherwise; or who was identified as a possible witness




                                           3

        Case 2:16-cv-01208-DEJ Filed 07/13/18 Page 3 of 9 Document 133
in this action; asserted any rights under this Consent Decree; or sought and/or

received any monetary and/or non-monetary relief in accordance with the law.

3.    Term of the Decree.

      This Consent Decree shall be filed in the United States District Court for the

Eastern District of Wisconsin, and shall continue in effect until December 12, 2020

(the “Term of the Decree”). Any application by any party to modify or vacate the

Consent Decree during the Term of the Decree shall be made by motion to the Court

on no less than 30 days’ notice to the other party.

4.    Dissemination of Policy Statement.

      For the Term of the Decree, Scion agrees to maintain an EEO policy stating

that it is an equal opportunity employer and does not discriminate against

employees on the basis of race in violation of Title VII. This policy shall include a

procedure for reporting complaints of discrimination and shall be posted and made

available to all current employees and all new employees during the Term of the

Decree. This policy shall be posted on all bulletin boards throughout Scion’s facility.

Scion agrees to disseminate its EEO Policy to all employees by October 31, 2018,

and Scion will certify to the EEOC that it has done so.

5.    Training.

      Scion has certified to the EEOC that within the last six months it provided

training described in this paragraph to all its employees. Such training was

conducted by one or more outside trainers chosen by Scion with the consent of the

EEOC, and included training in regard to the rights of applicants and employees



                                           4

        Case 2:16-cv-01208-DEJ Filed 07/13/18 Page 4 of 9 Document 133
under provisions of Title VII concerning unlawful employment practices on the

basis of race, the employer’s obligations under those provisions, and how to keep

Scion free of race discrimination. Annually for the Term of the Decree, Scion shall

provide training on its EEO Policy via its Code of Conduct training module to its

employees. As part of its December 2019 and December 2020

reporting/certifications, Scion shall send a letter to Carrie Vance, Trial Attorney,

EEOC, 310 West Wisconsin Avenue, Suite 500, Milwaukee, Wisconsin 53203,

certifying to the EEOC that the training has taken place and that the required

personnel have attended.

6.    Posting.

      Within 10 business days of the entry of this Consent Decree and Order, Scion

shall post full-sized copies of the Notice attached as Exhibit A to this Decree on all

bulletin boards in Scion’s facilities used for communicating human resources

matters to employees. The notice shall remain posted for the Term of the Decree.

Scion shall send a photograph of the posting to Carrie Vance, Trial Attorney, EEOC,

310 West Wisconsin Avenue, Suite 500, Milwaukee, Wisconsin 53203, as well as a

copy of the Notice as signed by the Court, and a letter stating the dates and

locations of the postings. Scion shall ensure that the postings are not altered,

defaced, or covered by other material. If the posted copies are removed or become

defaced or otherwise illegible, Scion shall re-post readable copies in the same

manner as previously specified within 2 business days upon becoming aware that

the posting is not readable.



                                           5

        Case 2:16-cv-01208-DEJ Filed 07/13/18 Page 5 of 9 Document 133
7.    Reporting on Hiring.

      Scion shall furnish hiring reports to the EEOC every six months for the Term

of the Decree beginning December 12, 2018. For the purpose of this reporting

requirement, Scion shall ensure it has a procedure to allow applicants to self-

identify their race in the application. The reports shall include applicant

information for every hiring action made by Scion during the previous six-month

period. For each hiring action, Scion shall indicate the name, race (if provided by

the applicant), and last known telephone number and address of each applicant.

Upon request by the EEOC, Scion shall also inform the EEOC whether a particular

applicant(s) was a temporary employee of Scion at the time of application. Scion

shall also provide the name and race (if provided by the applicant) of the applicants

selected for hire. Scion shall send the reports to Carrie Vance, Trial Attorney,

EEOC, 310 West Wisconsin Avenue, Suite 500, Milwaukee, Wisconsin 53203.

8.    Certification to EEOC.

      By December 12 of each year for the Term of the Decree, Scion shall certify

compliance with paragraphs 4 through 7 of this Decree by a letter to Carrie Vance,

Trial Attorney, EEOC, 310 West Wisconsin Avenue, Suite 500, Milwaukee,

Wisconsin 53203 that it has complied with them.

9.    Reporting on Employee Complaints.

      Scion shall report in writing to the EEOC’s Milwaukee Area Office, on June

12 and December 12 of each year for the Term of the Decree, all formal and informal

complaints of race discrimination, with details including the specific facts of the



                                           6

        Case 2:16-cv-01208-DEJ Filed 07/13/18 Page 6 of 9 Document 133
complaint, the persons involved, and the actions taken by Scion to respond to the

complaint.

10.   Record Retention.

      For the Term of the Decree, Scion shall maintain all records pertaining to the

complaints and matters described in Paragraph 9 hereof. Scion shall make such

records available for inspection by the EEOC pursuant to Paragraph 11 hereof.

11.   Right of Entry for Inspection.

      The EEOC shall have the right, after 10 business days of advanced written

notice to Scion, to enter upon Scion’s offices and inspect any relevant documents or

records for the purpose of determining Scion’s compliance with the Consent Decree

and Order.

12.   Monetary Relief.

      Scion shall, within 20 days of the later to occur of: a) receipt by Scion of the

Release Agreement attached hereto as Exhibit B executed by Ms. Leija; and b) the

entry of this Consent Decree and Order by the Court, pay the aggregate sum of

$98,000 to Ms. Leija. Of this aggregate sum, $16,438 shall be considered back pay

and Scion shall withhold the employee’s share of appropriate payroll deductions.

Scion shall pay the employer’s share of all applicable withholdings on the back pay

amount, which shall not reduce the payment to Ms. Leija. The remaining $81,562 of

the aggregate sum shall constitute compensatory damages to Ms. Leija, as to which

no withholdings shall be made. Scion shall mail the payments to Ms. Leija at an

address provided by the EEOC, and shall simultaneously provide a copy of the



                                           7

        Case 2:16-cv-01208-DEJ Filed 07/13/18 Page 7 of 9 Document 133
payment checks to Carrie Vance, Trial Attorney, EEOC, 310 West Wisconsin

Avenue, Suite 500, Milwaukee, Wisconsin 53203. To assist in facilitating the

payments, the EEOC shall provide Scion with IRS W-4 and IRS W-9 forms

completed by Ms. Leija.

                              DISPUTE RESOLUTION

13.   In the event that either party to this Decree believes that the other party has

failed to comply with any provision(s) of the Decree, the complaining party shall

notify the other party in writing of the alleged non-compliance and shall afford the

alleged non-complying party 30 days to remedy the non-compliance or to satisfy the

complaining party that the alleged non-complying party has complied. If the alleged

non-complying party has not remedied the alleged non-compliance within 30 days,

the complaining party may apply to the Court for appropriate relief.

                          MISCELLANEOUS PROVISIONS

14.   Each party to this Consent Decree shall bear its own costs, attorneys’ fees,

and expenses.

15.   This Court shall retain jurisdiction over this action in order to enforce the

terms of this Consent Decree.

16.   In the event this Consent Decree is not approved or does not become final, the

EEOC and Scion agree that it will not be admissible in evidence in any subsequent

proceeding in this lawsuit.

17.   Scion shall provide notice and a copy of this Consent Decree and Order to any

successors or any other corporation or other entity that acquired or acquires Scion,



                                          8

        Case 2:16-cv-01208-DEJ Filed 07/13/18 Page 8 of 9 Document 133
and any other corporation or other entity into which Scion may merge. To remain

consistent with the Parties’ intent that this Consent Decree apply only to Scion, any

successors or acquiring entities of Scion shall ensure that the former Scion entity

(all departments performing dental benefits administration functions) shall abide

by the terms of the Consent Decree. Scion shall provide notice to the EEOC 30 days

prior to any acquisition or merger.

      Dated at Milwaukee, Wisconsin, this 13th day of July, 2018.

                                              BY THE COURT:

                                              s/ David E. Jones
                                              DAVID E. JONES
                                              United States Magistrate Judge




                                          9

        Case 2:16-cv-01208-DEJ Filed 07/13/18 Page 9 of 9 Document 133
